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       UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

CARL HOFFER, et al.,

            Plaintiffs,

v.                                 Case No. 4:17cv214-MW/CAS

JULIE L. JONES, in her official
capacity as Secretary of the
Florida Department of
Corrections,

           Defendant.
__________________________/

     ORDER RENEWING PRELIMINARY INJUNCTION

      This Court entered a preliminary injunction in this case on

December 13, 2017. ECF No. 185. That injunction has since been

renewed and has also been modified several times. See ECF

No. 214; ECF No. 218; ECF No. 226; ECF No. 236; ECF No. 243;

ECF No. 307. Plaintiffs now move to renew the injunction a third

time. ECF No. 379. Defendant does not oppose the renewal. Id. at

3. For the same reasons this Court previously renewed the

injunction, this Court finds that the injunction should again be

renewed.

      Accordingly,


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      IT IS ORDERED:

      1. Plaintiffs’ motion for issuance of a fourth preliminary

         injunction, ECF No. 379, is GRANTED.

      2. The preliminary injunction entered in this case, ECF No.

         185, as subsequently modified and renewed, shall re-

         issue on September 11, 2018. This Court expressly

         incorporates all previously made findings supporting the

         original   injunction,   subsequent   modifications,   and

         subsequent renewals.

      SO ORDERED on September 5, 2018.

                            s/Mark E. Walker        ___________
                            Chief United States District Judge




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